     Case 1:13-cr-00136-DAD-BAM Document 261 Filed 04/25/14 Page 1 of 2
                                                                              (SPACE BELOW FOR FILING STAMP ONLY)
 1
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 4

 5
      ATTORNEYS FOR Defendant, Iris Stephanie Garcia
 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                      ******
10
      UNITED STATES OF AMERICA,                         CASE NO.: 1:13-CR-00136 AWI-BAM
11
                     Plaintiff,            STIPUSLWAIVER OF DEFENDANT’S PERSONAL
12                                                PRESENCE; ORDER THEREON
      v.
13
      IRIS STEPHANIE GARCIA,
14

15                   Defendant.

16

17           Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, Iris Stephanie Garcia, having been

18    advised of her right to be present at all stages of the proceedings, hereby requests that this
19    Court proceed in her absence on every occasion that the Court may permit, pursuant to this
20
      waiver. Defendant agrees that her interests shall be represented at all times by the presence of
21
      her attorney, Harry M. Drandell, the same as if Defendant were personally present, and requests
22
      that this court allow her attorney-in-fact to represent her interests at all times. Defendant
23
      further agrees that notice to Defendant’s attorney that Defendant’s presence is required will be
24
      deemed notice to the Defendant of the requirement of her appearance at said time and place.
25
      Dated: April 24, 2014                                  /s/ Iris Stephanie Garcia
26
                                                  IRIS STEPHANIE GARCIA
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                                                        1
                                       STIPULATION TO CONTINUE SENTENCING
     Case 1:13-cr-00136-DAD-BAM Document 261 Filed 04/25/14 Page 2 of 2
 1    Dated: April 17, 2014            HARRY M. DRANDELL
                                       Law Offices of Harry M. Drandell
 2

 3                                        By:     /s/ Harry M. Drandell
                                                  HARRY M. DRANDELL
                                                  Attorney for Defendant,
 4                                                IRIS STEPHANIE GARCIA
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10                                              ORDER
11           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant Iris

12    Stephanie Garcia’s appearance may be waived at any and all proceedings until further order.

13           IT IS SO ORDERED.

14    IT IS SO ORDERED.
15
         Dated:    April 24, 2014                            /s/ Barbara A. McAuliffe               _
16                                                    UNITED STATES MAGISTRATE JUDGE

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